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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION


   MONIQUE PERNA and LISA
   CROUCH, individually and on
   behalf of all others similarly
   situated,

                Plaintiffs,
                                                      Case No. 3:20-cv-846-MMH-JRK
   vs.

   AMERICAN CAMPUS
   COMMUNITIES, INC.,

                Defendant.
                                           /


                                         ORDER

         THIS CAUSE came before the Court on July 19, 2021, for a hearing on

   the pending motion to dismiss.1 For the reasons stated on the record during

   the hearing, it is

         ORDERED:

             1. Defendant American Campus Communities, Inc.’s Motion to

                Dismiss Plaintiffs’ Amended Complaint (Motion; Doc. 25) is

                GRANTED to the extent that Plaintiffs’ claim for breach of the


   1 Also before the Court was Defendant American Campus Communities, Inc.’s Second Motion
   for Assessment of Costs and Fees Against Plaintiffs and For a Stay of Proceedings Pending
   Payment of Such Costs and Fees and Memorandum of Law in Support of Same (Doc. 22),
   which counsel for Defendant withdrew at the hearing.
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               implied covenant of good faith and fair dealing in Count III, unjust

               enrichment in Count IV, conversion in Count V, money had and

               received in Count VI, and for a violation of Florida Statutes section

               559.72(9) in Count VII are DISMISSED with prejudice.

            2. The Motion is DENIED to the extent that the remaining claims for

               rescission in Count I, breach of contract in Count II, and for a

               violation of Florida Statutes section 559.72(7) in Count VII are

               DISMISSED without prejudice.

            3. Plaintiffs shall have up to and including August 20, 2021, to file

               an amended complaint.

            4. Defendant’s Second Motion for Assessment of Costs and Fees

               Against Plaintiffs and for a Stay of Proceedings Pending Payment

               of Such Costs and Fees and Memorandum of Law in Support of

               Same (Doc. 22) is WITHDRAWN.

            5. The mediation deadline is extended to October 15, 2021.




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             6. With the exception of the filing of the Amended Complaint and the

                response, and conducting the mediation, this case is STAYED

                until the filing of a notice advising the Court of the outcome of the

                mediation.

           DONE AND ORDERED in Jacksonville, Florida this 20th day of July,

   2021.




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   Copies to:
   Counsel of Record




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